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                 IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT COURT OF ARKANSAS
                          WESTERN DIVISION

DAREL ADELSBERGER AND
ANNETTE ADELSBERGER                                                       PLAINTIFFS

vs.                           Case No. 4:19CV3-SWW

UNION PACIFIC RAILROAD COMPANY                                        DEFENDANT


                                  Protective Order


      Before the Court is a Joint Motion for Protective Order. Upon consideration,
the Court finds that the motion should be and hereby is GRANTED. The Court
enters the following Protective Order as proposed by the parties:
      The parties have information to disclose which may require protection due to
its confidential or proprietary nature. Accordingly, the parties agree:
         1. Scope. All documents produced in the course of discovery, including

all responses to discovery requests, all deposition testimony and exhibits, other
materials which may be subject to restrictions on disclosure for good cause and
information derived directly therefrom (hereinafter collectively "documents"),
shall be subject to this Order concerning confidential information as set forth
below.
         2. Form and Timing of Designation. A party may designate documents
as confidential and restricted in disclosure under this Order by placing or
affixing the words "CONFIDENTIAL" on the document in a manner that will
not interfere with the legibility of the document and that will permit complete
removal of the designation. Documents shall be designated CONFIDENTIAL
prior to or at the time of the production or disclosure of the documents. The


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designation "CONFIDENTIAL" does not mean that the document has anystatus
or protection by statute or otherwise except to the extent and for the purposes of this

Order.
         3. Documents Which May be Designated. Any party may designate
documents as CONFIDENTIAL upon making a determination that the
documents contain information protected from disclosure by statute or that
should be protected from disclosure as confidential personal information,
medical or psychiatric information, trade secrets, personnel records, proprietary,
or such other sensitive commercial information that is not publicly available.
         4. Protection of Confidential Material.
               a. General Protections. Documents designated CONFIDENTIAL -
            under this Order shall not be used or disclosed by the parties, counsel
            for the parties or any other persons identified in Paragraph 4(b) for any
            purpose whatsoever other than to prepare for and to conduct
            discovery and trial in this action, including any appeal thereof.
               b. Limited Third-Party Disclosures. The parties and counsel for

            the parties shall not disclose or permit the disclosure of any
            CONFIDENTIAL documents to any third person or entity except as set
            forth in subparagraphs (i)-(v). Subject to these requirements, the
            following categories of persons may be allowed to review documents
            that have been designated CONFIDENTIAL:
                     1.   Counsel. Counsel (or the parties and employees and
                   agents of counsel) who have responsibility for the preparation
                   and trial of the action;
                    ii.    Parties. Parties and employees of a party to this Order.
                   iii.   Court Reporters and Recorders. Court reporters and
                   recorders engaged for depositions;

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                   1v.    Consultants, Investigators and Experts. Consultants,
                   investigators, or experts (hereinafter referred to collectively as
                   "experts") employed by the parties or counsel for the parties to
                   assist in the preparation and trial of this action or proceeding,
                   but only after such persons have completed the certification
                   contained in Attachment A, Acknowledgment of Understanding
                   and Agreement to Be Bound; and
                    v.    Others by Consent. Other persons only by written
                   consent of the producing party or upon order of the Court and
                   on such conditions as may be agreed or ordered. All such
                   persons shall execute the certification contained in Attachment
                   A, Acknowledgment of Understanding and Agreement to Be
                   Bound.
             c. Control of Documents. Counsel for the parties shall take
         reasonable and appropriate measures to prevent unauthorized
         disclosure of documents designated as CONFIDENTIAL pursuant to
         the terms of this Order. Counsel shall maintain the originals of the
         forms signed by persons acknowledging their obligations under this
         Order for a period of 1 year after dismissal of the action, the entry of
         final judgment and/or the conclusion of any appeals arising therefrom.
            d. Copies. Before production to another party, all copies, electronic
         images, duplicates, extracts, summaries or descriptions (hereinafter
         referred to collectively as ("copies") of documents designated as
         CONFIDENTIAL under this Order, or any individual portion of such a
         document, shall be affixed with the designation "CONFIDENTIAL" if
         the word does not already appear on the copy. All such copies shall
         thereafter be entitled to the protection of this Order. The term "copies"

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          shall not include indices, electronic databases or lists of documents

          provided that these indices, electronic databases or lists do not contain
          substantial portions or images of the text of confidential documents or
          otherwise disclose the substance of the confidential information
          contained in those documents.
              e. Inadvertent Production. Inadvertent production of any
          document or information without a designation of "CONFIDENTIAL"
          shall be governed by the applicable rules of civil procedure, but a party
          may designate such documents as Confidential as soon as it realizes
                                                            /

          the inadvertent disclosure.
       5. Filing of CONFIDENTIAL Documents Under Seal. Before any
document designated as CONFIDENTIAL is filed with the Court, the party
wishing to file the document shall request that the document be filed under seal.
It shall be within the sole discretion of the Court to determine whether said
document may be filed under seal.
              a. Before the filing party requests the Court's leave to file under
          seal any document marked as CONFIDENTIAL, the filing party shall
          first consult with the party that originally designated the document as
          CONFIDENTIAL to determine whether, with the consent of the
          designating party, the document or a redacted version of the document
          may be filed with the Court not under seal.
      6. Challenges by a Party to Designation as Confidential. Any
CONFIDENTIAL designation is subject to challenge by any party or nonparty
with standing to object (hereafter "party"). Before filing any motions or
objections to a confidentiality designation with the Court, the objecting party
shall have an obligation to meet and confer in a good faith effort to resolve the
objection by agreement. If agreement is reached confirming or waiving the

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CONFIDENTIAL designation as to any documents subject to the objection, the
designating party shall serve on all parties a notice specifying the documents and
the nature of the agreement.
       7. Action by the Court. Applications to the Court for an order relating to
any documents designated CONFIDENTIAL shall be by motion under the
applicable rules of procedure and local rules of the Court and any other
procedures set forth in the presiding judge's standing orders or other relevant
orders.
       8. Use of Confidential Documents or Information at Trial. All trials are
open to the public. Absent order of the Court, there will be no restrictions on the
use of any document that may be introduced by any party during the trial. If a
party intends to present at trial CONFIDENTIAL documents or information
derived therefrom, such party shall provide advance notice to the other party
identifying the documents or information at issue as specifically as possible (i.e.,
by Bates number, page range, deposition transcript lines, etc.) without divulging
the actual CONFIDENTIAL documents or information. The Court may thereafter
make such orders as are necessary to govern the use of such documents or
information at trial.
       9. Obligations on Conclusion of Litigation.
              a. Order in Effect. Unless otherwise agreed, this Order shall
          remain in force after dismissal or entry of judgment not subject to
          further appeal.
              b. Return of CONFIDENTIAL Documents. Within thirty days
          after dismissal or entry of final judgment not subject to further appeal,
          all documents treated as CONFIDENTIAL under this Order, including
          copies as defined in Paragraph 4(d), shall be returned to the producing
          party unless: (1) the document has been offered into evidence or filed

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          without restriction as to disclosure; or (2) the party in possession of
          such document(s) elects to destroy the documents and certifies to the
          producing party that it has done so. Notwithstanding the above
          requirements to return or destroy documents, counsel may retain
          attorney work product, including an index which refers or relates to
          information designated CONFIDENTIAL, so long as that work
          product does not duplicate verbatim substantial portions of the text or
          images of confidential documents. This work product shall continue to
          be CONFIDENTIAL under this Order. An attorney may use his or her
          work product in a subsequent litigation provided that its use does not
          disclose or use CONFIDENTIAL documents.
      10. Persons Bound. This Order shall take effect when signed by the Court
and shall be binding upon all counsel and their law firms, the parties, and
persons made subject to this Order by its terms.
   SO ORDERED



   Date                                          United States District Judge




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                                Attachment A
                   Acknowledgment and Agreement to be Bound


   The undersigned hereby acknowledges that he/she has read the Protective
Order dated _ _ _ _ _ _ _ _ _ in the above-captioned action and attached
hereto; understands the terms thereof; and agrees to be bound by its terms. The
undersigned submits to the jurisdiction of the Court herein in matters relating to
the Protective Order and understands that the terms of the Protective Order
obligate him/her to use documents designated CONFIDENTIAL in accordance
with the Order solely for the purposes of the above captioned action, and not to
disclose any such documents or information derived directly therefrom to any
other person, firm or concern.
   The undersigned acknowledges that violation of the Protective Order may
result in penalties for contempt of court.
 Name:
Job Title:
Employer:
Business Address:




Date                               Signature




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Agreed as to form and content:



Joseph P. McKay
FRIDAY, ELDREDGE & CLARK, LLP    .
400 W. Capitol Ave., Ste. 2000
Little Rock, Arkansas 72201
jmckay@fridayfirm.com
Attorneys for Defendant




sdr@aristotle.net
Attorney for Plaintiffs




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